Case 2:22-cr-00013-SDW Document 16 Filed 02/16/22 Page 1 of 3 PageID: 42




                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA           :   Hon. Susan D. Wigenton
                                    :
         v.                         :   Crim. No. 22-13 (SDW)
                                    :
 JOSEPH SCHWARTZ                    :    SCHEDULING ORDER
                                    :
      This matter having come before the Court for arraignment on
February 7, 2022; and the United States being represented by Philip R.
Sellinger, United States Attorney for the District of New Jersey
(by V. Grady O’Malley, Sr. Litigation Counsel); Joseph Schwartz being
represented by Kevin H. Marino, Esq., and the parties having met and
conferred and having determined that this matter may be treated as a
criminal case that requires extensive discovery within the meaning of
paragraph 4 of this Court’s Standing Order for Criminal Trial Scheduling
and Discovery; and the parties having agreed on a schedule for the
exchange of discovery and the filing and argument of pretrial motions;
and the Court having accepted such schedule, and for good cause
shown,
                     16thday of February, 2022, ORDERED that:
      It is on this ____
      1. The Government shall provide any oral, written or recorded
statement of the Defendant or, in the case of an organizational
defendant, of any person who is legally able to bind the Defendant
because of that person’s position as a director, officer, employee or agent
of the Defendant on or before March 12, 2022.
      2. The Government shall provide exculpatory evidence, within the
meaning of Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, on or
before March 12, 2022. Exculpatory evidence that becomes known to the
Government after that date shall be disclosed reasonably promptly after
becoming known to the Government.
Case 2:22-cr-00013-SDW Document 16 Filed 02/16/22 Page 2 of 3 PageID: 43




      3. The Government shall provide all remaining discovery required
by Federal Rule of Criminal Procedure 16(a)(1) on a rolling basis, with the
first tranche of remaining discovery due on or before May 15, 2022.
Subsequent tranches shall be produced on a schedule mutually
agreeable to the parties with the goal of providing substantially all
remaining Rule 16(a)(1) discovery by August 15, 2022. If, after this date,
the Government determines it has additional evidence that falls under
Rule 16(a)(1), the Government shall notify defense counsel and provide
such discovery within two weeks of making that determination.
      4. The Defendant shall provide any and all notices required by
Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3 on or before
September 15, 2022.
      5. The Defendant shall provide all discovery required by Federal
Rule of Criminal Procedure 16(b)(1) on or before September 15, 2022, or
30 days after the Government has notified defense counsel that it has
produced all or substantially all discovery required to be produced
pursuant to Rule 16(a)(1), whichever date is later.
                                                TO BE SET
     6. A status conference shall be held on ______________, 2022, at
_____ a.m./p.m., in order to assess the progress of discovery; to
determine a schedule for the production of additional discovery if
necessary; to consider any discovery disputes if necessary; to set or
consider setting a schedule for the next status conference in this matter;
and to set or consider setting a schedule for pretrial motions if a date for
the completion of discovery can be determined.
                                        TO BE SET
      7. Trial will be scheduled for _____________________________.



                                      _____________________________
                                      Honorable Susan D. Wigenton
                                      United States District Judge




                                     2
Case 2:22-cr-00013-SDW Document 16 Filed 02/16/22 Page 3 of 3 PageID: 44




Consented to as to form and entry:

____________________________________
Shawn T. Noud
Trial Attorney




____________________________________
Kevin H. Marino
Counsel for Defendant




                                     3
